Case: 16-2271   Document: 00117145083    Page: 1   Date Filed: 04/20/2017   Entry ID: 6085783




                  United States Court of Appeals
                               For the First Circuit


      No. 16-2271

                               PAN AM RAILWAYS, INC.,

                                        Petitioner,

                                            v.

                        UNITED STATES DEPARTMENT OF LABOR,

                                        Respondent,

                                        JASON RAYE,

                                        Intervenor.


          PETITION FOR REVIEW OF A FINAL ORDER OF THE ADMINISTRATIVE
             REVIEW BOARD OF THE UNITED STATES DEPARTMENT OF LABOR


                                          Before

                               Howard, Chief Judge,
                         Selya and Lynch, Circuit Judges.


           Andrew J. Rolfes, with whom Robert S. Hawkins and Buchanan
      Ingersoll & Rooney, P.C. were on brief, for petitioner.
           Dean A. Romhilt, Senior Attorney, Office of the Solicitor,
      U.S. Department of Labor, with whom Nicholas C. Geale, Acting
      Solicitor of Labor, Jennifer S. Brand, Associate Solicitor, and
      Megan E. Guenther, Counsel for Whistleblower Programs, were on
      brief, for respondent.
           Stephen J. Fitzgerald, with whom Garrison, Levin-Epstein,
      Fitzgerald & Pirrotti, P.C. was on brief, for intervenor.
Case: 16-2271   Document: 00117145083   Page: 2   Date Filed: 04/20/2017   Entry ID: 6085783




                                   April 21, 2017
Case: 16-2271   Document: 00117145083     Page: 3   Date Filed: 04/20/2017     Entry ID: 6085783



                  LYNCH, Circuit Judge.       This is a petition for review, in

      a Federal Railroad Safety Act ("FRSA") whistleblower retaliation

      action, of an agency decision resulting in the statutory maximum

      award of punitive damages against a railroad. The railroad brought

      charges of dishonesty and insubordination, as well as threats of

      dismissal, against an injured employee who had filed a complaint

      under     the   FRSA   with   the     Occupational      Safety     and     Health

      Administration ("OSHA"), alleging that he lied in that complaint

      about precisely how his on-the-job accident happened, based on a

      purported discrepancy between the complaint and his prior story.

      An Administrative Law Judge ("ALJ") later found that those charges

      of   dishonesty    constituted      unlawful    retaliation       against      the

      employee for filing the OSHA complaint.

                  We agree with the Department of Labor's Administrative

      Review Board ("ARB") that substantial evidence supported the ALJ's

      rejection of the railroad's affirmative defense and the ALJ's

      decision to impose punitive damages.           The amount of the punitive

      damages award presents a closer question.             The award seems high,

      and we might ourselves have chosen a different sum.                In the end,

      however, we conclude that the ALJ's decision to award punitive

      damages of $250,000, to punish and deter what he perceived to be

      a culture of intimidating employees and discouraging them from

      engaging in protected activity, was within the realm of his

      discretion.     We deny the petition for review.


                                           - 3 -
Case: 16-2271    Document: 00117145083    Page: 4    Date Filed: 04/20/2017    Entry ID: 6085783




                                             I.

      A.     The FRSA and Raye's Injury

                     This story begins with an on-the-job accident in which

      Jason Raye, a train conductor for a subsidiary of petitioner Pan

      Am Railways, Inc. ("Pan Am"), injured his ankle and missed work as

      a    result.      The   FRSA's   employee     protection     provision    forbids

      railroad carriers from retaliating against employees who engage in

      protected activity, such as reporting a workplace injury or filing

      an OSHA complaint.       See 49 U.S.C. § 20109.        Importantly, this case

      concerns       FRSA   retaliation   against     Raye   for    filing     an   OSHA

      complaint.

                     A few weeks before his accident, on October 5, 2011,

      Raye noticed a pile of old railroad ties next to a track in a

      railyard in Waterville, Maine.           He thought the pile a tripping

      hazard and reported it to his manager, Dwynn Williams.                   The pile

      was not removed before Raye's accident.1

                     On October 24, 2011, during his shift, Raye stepped off

      a train onto that same pile of railroad ties and badly sprained

      his ankle.       We recount later his testimony about the accident.

      Raye called his dispatcher for a ride to the hospital, where Raye




             1   Raye later testified in the ALJ hearing that Pan Am had
      not disciplined anyone, as far as he knew, for failing to remove
      the dangerous pile from the railyard in the weeks between Raye's
      initial report and his accident.     Pan Am has not refuted that
      testimony.


                                           - 4 -
Case: 16-2271   Document: 00117145083    Page: 5     Date Filed: 04/20/2017   Entry ID: 6085783




      was diagnosed with the sprain.               Williams visited Raye at the

      hospital, and Raye explained that he had "rolled [his] ankle on

      the same ties that [he had] turned in three weeks ago."                          In

      response,    Williams   said   that   Raye     should    "probably      expect   a

      [disciplinary] hearing" in the wake of the injury.

                  Raye had two scheduled days off after his injury, but he

      needed three days to recover, so he missed a day of work.                    That

      missed day required Pan Am to report Raye's injury and the injury's

      cause to the Federal Railroad Administration ("FRA").                     See 49

      C.F.R. § 225.19(d)(3)(i).         When Raye returned to work on October

      28, 2011, his superintendent, Jim Quinn, learned about the injury

      and the missed day. Quinn told Raye that the missed day "change[d]

      everything" and that "[t]here w[ould] probably be a hearing . . .

      for that FRA reportable injury, for missing a day."

      B.    First Pan Am Disciplinary Proceeding Brought Against Raye for
            His Alleged Safety Violation

                  On November 1, 2011, Raye received a Notice of Hearing

      from Pan Am, signed by Williams.        The notice alleged that Raye had

      violated Pan Am Safety Rule P-76, which provides that "[b]efore

      getting on and off [a train], [employees must] carefully observe

      ground condition and be assured of firm footing."              At the November

      11, 2011 hearing, Raye testified that he had stepped down from the

      train safely and cautiously, but had nonetheless lost his balance

      on the unstable pile of ties.           Raye also testified that after




                                          - 5 -
Case: 16-2271   Document: 00117145083     Page: 6     Date Filed: 04/20/2017    Entry ID: 6085783




      rolling his ankle he had "caught [him]self" and sat down on the

      ground rather than falling over.

                   On    November   28,   2011,     John   Schultz,    Pan     Am's   Vice

      President of Transportation, sent Raye a letter stating that Raye

      had failed to assure himself of firm footing before stepping onto

      the pile of ties.        The letter itself "serve[d] as discipline in

      the form of a formal [r]eprimand and . . . a copy of it w[as] . . .

      placed in [Raye's] personal file."

      C.    Raye's OSHA Complaint, Second Pan Am Disciplinary Proceeding
            for Raye's Alleged Dishonesty, and Raye's Amended OSHA
            Complaint Charging Retaliation

                   Raye retained a lawyer, who drafted and submitted a typed

      complaint to OSHA on December 6, 2011, without Raye first reviewing

      or signing it.       This initial complaint accused Pan Am of violating

      the FRSA by retaliating against Raye, both for reporting a safety

      hazard and for reporting his injury.            See 49 U.S.C. § 20109(a)(4),

      (b)(1)(A).        The typed OSHA complaint was consistent with Raye's

      testimony at the earlier Pan Am disciplinary hearing, with one

      exception: the complaint stated that Raye "fell hard to the ground"

      at the time of the injury, rather than that he sat down on the

      ground.

                   On December 12, 2011, OSHA sent Pan Am a copy of Raye's

      complaint and sought Pan Am's response to the allegations.                  At the

      request of Pan Am's legal and human resources departments, Schultz

      reviewed the OSHA complaint -- which he reasonably believed had


                                           - 6 -
Case: 16-2271   Document: 00117145083    Page: 7    Date Filed: 04/20/2017    Entry ID: 6085783




      been drafted by Raye himself -- and thought there was a "major

      discrepancy" between the complaint's statement about Raye falling

      hard to the ground and Raye's prior hearing testimony that he had

      caught himself and sat down on the ground after stumbling.                     That

      discrepancy,    Schultz    said    later,     caused   Pan    Am   to    make     a

      "collective determination" to bring a second set of disciplinary

      charges against Raye.      Pan Am made that determination without any

      effort to first ask Raye about the purported inconsistency.

                  On December 23, 2011, Pan Am sent Raye a second Notice

      of Hearing, which directed him to appear at a second disciplinary

      proceeding,    levied    several   serious     charges    against       him,   and

      threatened him with termination.             OSHA and the ALJ would later

      find that retaliation against Raye for filing the initial OSHA

      complaint was a contributing factor in Pan Am's decision to bring

      these new charges.      The notice alleged that Raye had "[p]rovid[ed]

      false statements to [Pan Am] and/or a government agency, in

      connection with [his] description as to how the incident . . . on

      October 24, 2011, took place."           That purported dishonesty, the

      notice further alleged, violated two Pan Am Safety Rules: (1) Rule

      PGR-C, which threatens employees with dismissal if they commit

      "act[s] of insubordination, hostility, or willful disregard of

      [Pan Am's] interests" or if they "conduct themselves in such a

      manner that [Pan Am] will . . . be subject to criticism or loss of

      good will"; and (2) Rule PGR-L, which threatens employees with


                                          - 7 -
Case: 16-2271     Document: 00117145083    Page: 8     Date Filed: 04/20/2017    Entry ID: 6085783




      dismissal if they are "dishonest, immoral, vicious, quarrelsome,

      and uncivil in deportment or . . . careless of the safety [of]

      themselves or of others."            The notice did not specify which of

      Raye's statements about the accident were alleged to have been

      "dishonest" or "insubordinat[e]."

                    Raye's lawyer, in response, amended the OSHA complaint

      on December 27, 2011, to include an allegation that the second set

      of charges amounted to Pan Am retaliating against Raye for having

      filed the original OSHA complaint.              See 49 U.S.C. § 20109(a)(3).

      He enclosed the new Notice of Hearing and asserted to OSHA that

      Pan    Am    was    "clearly   bringing        these     additional   charges     in

      retaliation for . . . the original [OSHA] complaint."

                    The second Pan Am disciplinary hearing, addressing the

      new charges of dishonesty and insubordination, took place on

      January 4, 2012.        Raye explained that his lawyer had written the

      statement in the OSHA complaint, that he himself had not been aware

      of    the   statement's    contents     before     the    lawyer   submitted     the

      complaint to OSHA, that the discrepant portion of the statement

      was wrong, and that his testimony at the first hearing had been

      correct.       The facts in the OSHA complaint, he confirmed, were

      otherwise      accurate    and      consistent     with     his    prior    hearing

      testimony.         Finally, he testified that no one from Pan Am had

      approached him informally at any time before issuing the second




                                             - 8 -
Case: 16-2271   Document: 00117145083    Page: 9   Date Filed: 04/20/2017     Entry ID: 6085783




      Notice of Hearing to discuss the purported "major discrepancy"

      that Schultz had identified.2

                  In a letter dated January 13, 2012, Pan Am informed Raye

      that "the charges [of rule violations] ha[d] not been sustained"

      and that no disciplinary action would be taken as a result of the

      second hearing.

                  On August 14, 2013, OSHA rejected Raye's claim that Pan

      Am had retaliated against him for reporting his injury or for

      reporting a safety hazard, finding that Pan Am had "provided clear

      and convincing evidence that it would have reprimanded [Raye] if

      it had observed the incident, even if no injury resulted."

                  OSHA   agreed   with    Raye,    however,    that    Pan     Am   had

      unlawfully retaliated against him by bringing the second set of

      charges after he filed the original OSHA complaint.                   Pan Am had

      "not provided clear and convincing evidence," OSHA found, "that it

      would have taken the same adverse action even if [Raye] had not

      engaged in protected activity."         OSHA further noted that "once a


            2   The ALJ later found, despite Pan Am's claim that its
      officials could not have spoken informally with Raye because of
      the collective bargaining agreement with Raye's union, that
      nothing in that agreement prohibited an informal conversation.
      This was one of several instances in which the ALJ found Schultz's
      testimony before him to be less than truthful. Further, the ALJ
      evidently accepted Raye's unrebutted testimony that on another
      occasion Quinn, the superintendent, had called him in for an
      informal conversation to learn more about the circumstances of a
      workplace accident.   On that occasion, Pan Am did not formally
      charge Raye with a safety violation until after the informal
      conversation.


                                          - 9 -
Case: 16-2271    Document: 00117145083   Page: 10   Date Filed: 04/20/2017   Entry ID: 6085783




       FRSA allegation has been made to OSHA, it is OSHA's responsibility,

       not [an employer's], to establish the truth of assertions made by

       both parties."

       D.   ALJ and ARB Proceedings

                   On September 12, 2013, Pan Am objected to OSHA's finding

       of retaliation3 and requested a de novo hearing before an ALJ.

       That hearing took place on February 24, 2014.           The ALJ heard live

       testimony from Raye and from Schultz.          Pan Am sought to introduce

       several     exhibits    documenting     past    instances      of     employee

       discipline,     which   it   characterized      as   comparator       evidence

       supporting its affirmative defense that it would have taken the

       same action even absent Raye's protected activity.                    The ALJ

       admitted the documents about which Schultz could testify from

       personal experience, but excluded others for which Pan Am could

       provide no explanation or context.

                   The ALJ issued his Decision and Order on June 25, 2014.

       First, he found that Raye's protected activity -- filing an OSHA

       complaint -- had been a contributing factor in Pan Am's decision

       to charge Raye with dishonesty and to hold a second hearing. Next,

       he rejected Pan Am's affirmative defense, holding that Pan Am had

       not "prove[d] by clear and convincing evidence that it would have




            3    OSHA's finding that the first Pan Am hearing and
       subsequent reprimand did not constitute unlawful retaliation
       against Raye was not appealed.


                                          - 10 -
Case: 16-2271    Document: 00117145083     Page: 11    Date Filed: 04/20/2017   Entry ID: 6085783




       taken the same action absent [Raye's] protected activity."                     He

       dismissed as inadequate Pan Am's proffered comparator evidence

       because those instances of investigation and discipline were not

       fairly comparable to Raye's circumstances.

                      Finally, the ALJ turned to what relief was "necessary to

       make [Raye] whole," 49 U.S.C. § 20109(e)(1), and awarded Raye

       $10,000 in damages for emotional distress.                    He also imposed

       $250,000 in punitive damages -- the maximum amount that the FRSA

       allows, see id. § 20109(e)(3) -- because Pan Am had "utilized the

       [disciplinary] process to intimidate and discourage protected

       activity, not only by Raye, but [by] other employees of Pan Am as

       well."

                      Pan Am appealed the ALJ's decision to the ARB, which

       affirmed.       The ARB held that substantial evidence supported the

       ALJ's determination that Pan Am had failed to prove its affirmative

       defense by clear and convincing evidence.             It also found no abuse

       of discretion in the award of $250,000.

                                              II.

                      The scope of our review of Pan Am's petition for review

       of the ARB's final order is limited by the Administrative Procedure

       Act.      See 49 U.S.C. § 20109(d)(4) (cross-referencing 5 U.S.C.

       §§ 701–706); R & B Transp., LLC v. U.S. Dep't of Labor, Admin.

       Review Bd., 618 F.3d 37, 44 (1st Cir. 2010).             Accordingly, we must

       deny     the   petition   "unless   [the     ARB's]   legal   conclusions     are


                                            - 11 -
Case: 16-2271   Document: 00117145083   Page: 12   Date Filed: 04/20/2017   Entry ID: 6085783




       arbitrary, capricious, or otherwise not in accordance with law, or

       its factual conclusions are unsupported by substantial evidence."

       R & B Transp., 618 F.3d at 44 (quoting Clean Harbors Envtl. Servs.,

       Inc. v. Herman, 146 F.3d 12, 19 (1st Cir. 1998)).          The substantial

       evidence standard is a hurdle "notoriously difficult to overcome

       on appellate review."      Vieques Air Link, Inc. v. U.S. Dep't of

       Labor, 437 F.3d 102, 104 (1st Cir. 2006) (per curiam) (quoting

       Bath Iron Works Corp. v. U.S. Dep't of Labor, 336 F.3d 51, 56 (1st

       Cir. 2003)).4

                  Pan Am's petition raises two issues.              First, Pan Am

       argues that it established in the ALJ proceeding, by clear and

       convincing evidence, its affirmative defense that it would have

       issued the second Notice of Hearing and threatened Raye with

       termination for dishonesty even if he had not engaged in protected

       activity by filing an OSHA complaint.        Second, Pan Am argues that

       the $250,000 punitive damages award was unsupported by substantial

       evidence and clearly excessive.         Pan Am does not challenge the

       abuse of discretion standard of judicial review as to the amount

       of punitive damages.




            4    With respect to findings of fact, "it is the ALJ's unique
       prerogative in the first instance to 'draw inferences and make
       credibility assessments, and we may not disturb his judgment and
       the [ARB's] endorsement of it so long as the [ALJ's] findings are
       adequately anchored in the record.'" Bath Iron Works, 336 F.3d at
       56 (quoting Bath Iron Works Corp. v. Dir., Office of Workers Comp.
       Programs, U.S. Dep't of Labor, 244 F.3d 222, 231 (1st Cir. 2001)).


                                         - 12 -
Case: 16-2271   Document: 00117145083   Page: 13   Date Filed: 04/20/2017   Entry ID: 6085783




       A.   Rejection of Pan Am's Affirmative Defense that It Would Have
            Charged Raye with Dishonesty Even Absent His Protected
            Activity

                   Under the FRSA, an employee alleging retaliation bears

       the initial burden of demonstrating that his protected activity

       "was a contributing factor in the unfavorable personnel action

       alleged in the complaint."5      49 U.S.C. § 42121(b)(2)(B)(iii); see

       id. § 20109(d)(2)(A).     Pan Am does not dispute that Raye met his

       "contributing factor" burden and shifted the burden to Pan Am to

       prove, "by clear and convincing evidence," that it "would have

       taken the same unfavorable personnel action in the absence of [the

       protected activity]."     Id. § 42121(b)(2)(B)(iv).6

                   Pan Am takes two tacks in challenging the ALJ's rejection

       of its affirmative defense.      First, it argues that the ALJ abused

       his discretion by excluding material comparator evidence.            Second,

       it argues that the mere fact of discrepancy between the two

       accounts of Raye's accident is sufficient to meet Pan Am's burden

       of proof.




            5    Pan Am has abandoned one of its original theories: that
       there was no "adverse action," as a matter of law, given that Raye
       was not punished after the second disciplinary proceeding.
            6    The "clear and convincing evidence" standard is more
       demanding than a preponderance standard and requires "proof that
       the [employer's] assertions are 'highly probable.'" United States
       v. Volungus, 730 F.3d 40, 46–47 (1st Cir. 2013) (quoting Colorado
       v. New Mexico, 467 U.S. 310, 316–17 (1984)).


                                         - 13 -
Case: 16-2271    Document: 00117145083       Page: 14      Date Filed: 04/20/2017     Entry ID: 6085783




            1.     Pan Am's Comparator Evidence

                   Pan Am faults the ALJ for excluding certain notices of

       investigation and records of arbitration awards, which Pan Am

       sought to introduce as additional comparator evidence.                       There was

       no abuse of discretion in the ALJ's decision to exclude those

       exhibits.     Pan Am contends that the exhibits were admissible as

       business records or public records.              See 29 C.F.R. § 18.803(a)(6),

       (a)(8).    But that argument misses the point: the KALJ excluded the

       exhibits not because they were hearsay, but rather because their

       probative value was minimal without a witness to explain their

       significance and in light of the exhibits already in evidence.

       See id. § 18.403.        The ALJ was within his discretion in concluding

       that the proffered exhibits, without additional context, should

       not be admitted.

                   In any event, the record makes clear that any error was

       harmless.     The excluded exhibits, on their face, merely suggested

       that Pan Am may have previously disciplined employees for false

       statements.       The    key     issue,   however,      was    whether       the    false

       statements in those instances were of a similar character as the

       discrepancy     that     Pan     Am   chose    to    investigate      formally          and

       aggressively     in     Raye's    case.       The    excluded    exhibits          do   not

       themselves describe circumstances that are reasonably comparable

       to Raye's, and no other evidence makes them so.                 There is no reason

       to believe that the ALJ would have afforded the exhibits any


                                              - 14 -
Case: 16-2271     Document: 00117145083   Page: 15    Date Filed: 04/20/2017     Entry ID: 6085783




       weight, or changed his mind, had they been admitted.                    See R & B

       Transp., 618 F.3d at 46 (finding "any purported [evidentiary] error

       . . . harmless in light of the other evidence" considered by the

       ALJ); Mekhoukh v. Ashcroft, 358 F.3d 118, 130 (1st Cir. 2004) ("The

       evidence [not considered] contains no information that materially

       affects the outcome of [petitioner's] claims.").

                     Pan Am also argues that the comparator evidence the ALJ

       did   admit    was   sufficient    to   meet   its    burden    to      prove   its

       affirmative defense.        But those disciplinary records, too, had

       only indirect relevance to Raye's case: they involved patently and

       materially false hearing testimony by the employees, rather than

       mere discrepancies, and the notices given there to the employees

       did not threaten to fire them after the employees had made a

       statement to OSHA.

             2.      Rejection of Pan Am's Purportedly Non-Retaliatory Motive
                     for Charging Raye with Dishonesty

                     Pan Am contends that the two accounts of Raye's accident

       were "fundamentally irreconcilable" and that the discrepancy gave

       Pan Am a non-retaliatory motive to charge Raye with dishonesty-

       related violations and to hold a second formal hearing.                   But the

       ALJ had substantial evidence and reason not to credit Pan Am's

       explanation.

                     First, the ALJ was entitled to evaluate the hearing

       testimony of Schultz, Pan Am's key decision maker, and decide




                                           - 15 -
Case: 16-2271   Document: 00117145083   Page: 16    Date Filed: 04/20/2017   Entry ID: 6085783




       whether Schultz's explanation was sufficiently credible.                 There

       were reasons to doubt Schultz's credibility.                In his initial

       testimony, he mischaracterized the description of the accident

       contained in the OSHA complaint.       Only on cross-examination did he

       admit his mischaracterization. The ALJ also reasonably gave weight

       to Schultz's failure simply to ask Raye about the perceived

       discrepancy before rushing to charge Raye formally with dishonesty

       and to threaten him with the loss of his job.                Again, the ALJ

       rejected Pan Am's purported reasons for its failure to do so.

                   Although there may be room for disagreement about the

       significance and extent of the discrepancy, we are not the triers

       of fact.    Substantial evidence supported the ALJ's conclusion that

       Pan Am overstated the significance of the discrepancy and failed

       to prove that it would have taken the same adverse actions if Raye

       had not filed the OSHA complaint.

                   Pan Am argues that the ALJ ignored an ARB precedent

       requiring him to consider "the proportional relationship between

       the adverse actions and the bases for the actions."              See Speegle

       v. Stone & Webster Constr., Inc., ARB Case No. 13-074, 2014 WL

       1758321, at *7 (Dep't of Labor Admin. Review Bd. Apr. 25, 2014).

       That argument is flatly contrary to the record, which reflects

       that the ALJ in this case properly took proportionality into

       account as circumstantial evidence, as well as "the temporal

       proximity    between   the   non-protected     conduct    and   the   adverse


                                         - 16 -
Case: 16-2271    Document: 00117145083     Page: 17     Date Filed: 04/20/2017   Entry ID: 6085783




       actions."    Id.    As Speegle clearly states, proportionality is only

       one of several pieces of circumstantial evidence that an ALJ "can"

       consider.     Id.

       B.   No Abuse of Discretion in Punitive Damages Award

                   The remaining issue is whether the $250,000 punitive

       damages award was unsupported by substantial evidence, contrary to

       law, or clearly excessive.          We conclude that the ALJ's choice of

       award was not an abuse of discretion.

            1.     Background

                   An employee who prevails on a FRSA retaliation claim

       "shall be entitled to all relief necessary to make the employee

       whole," 49 U.S.C. § 20109(e)(1), and the relief "may include

       punitive    damages   in   an     amount   not    to   exceed    $250,000,"    id.

       § 20109(e)(3).7     The purpose of punitive damages, both in the FRSA

       and elsewhere, is twofold: "to punish [a wrongdoer] for his

       outrageous conduct and to deter him and others like him from

       similar conduct in the future."            Smith v. Wade, 461 U.S. 30, 54

       (1983) (quoting Restatement (Second) of Torts § 908(1) (1979)).

                   When Congress amended the FRSA in 2007 to expand anti-

       retaliation     protections     and   shift      enforcement     authority    from




            7    Prevailing plaintiffs are also entitled to "compensatory
       damages, including compensation for any special damages sustained
       as a result of the discrimination, including litigation costs,
       expert witness fees, and reasonable attorney fees." See 49 U.S.C.
       § 20109(e)(2)(C).


                                             - 17 -
Case: 16-2271    Document: 00117145083    Page: 18       Date Filed: 04/20/2017    Entry ID: 6085783




       arbitrators to the Department of Labor, it said that it was aiming

       to   address    and   rectify     railroads'      history     of   systematically

       suppressing employee injury reports through retaliatory harassment

       and intimidation.       See Araujo v. N.J. Transit Rail Operations,

       Inc., 708 F.3d 152, 156–57 & n.3, 159 & n.6 (3d Cir. 2013)

       (discussing the legislative history of the 2007 FRSA amendment).

       Congress's     amendment    not    only    gave     the   Department       of    Labor

       enforcement     authority    but    also      put    stronger      tools    in     the

       Department's toolbox: the statute's punitive damages cap rose from

       $20,000 to $250,000.8       Compare 49 U.S.C. § 20109(c) (2006) (pre-

       amendment), with id. § 20109(e)(3) (2012) (post-amendment).

                    As Pan Am acknowledges, the test for awarding punitive

       damages in FRSA whistleblower cases is the same common law test

       that Smith used for actions under 42 U.S.C. § 1983.                 See Worcester

       v. Springfield Terminal Ry. Co., 827 F.3d 179, 182–84 (1st Cir.

       2016) (applying Smith standard); BNSF Ry. Co. v. U.S. Dep't of

       Labor, 816 F.3d 628, 642 (10th Cir. 2016) (same).                           We have

       described the Smith test as a "reckless disregard standard,"

       Worcester, 827 F.3d at 183, meaning that punitive damages are

       warranted if a railroad acted "[w]ith malice or ill will or with




             8   Post-amendment jury awards of punitive damages, under
       the FRSA, are reduced to this statutory cap if necessary. See,
       e.g., Barati v. Metro-North R.R. Commuter R.R. Co., 939 F. Supp.
       2d 143, 145 (D. Conn. 2013) (granting motion to reduce $1,000,000
       jury award of punitive damages to $250,000).


                                            - 18 -
Case: 16-2271    Document: 00117145083     Page: 19      Date Filed: 04/20/2017      Entry ID: 6085783




       knowledge that its actions violated federal law or with reckless

       disregard or callous indifference to the risk that its actions

       violated federal law," id. at 182 (alteration and emphases in

       original).

            2.      An Award of Punitive Damages Was Warranted

                    Substantial evidence in the record supports the ALJ's

       conclusion that punitive damages were warranted on account of Pan

       Am's "reckless or callous disregard for [Raye's] rights, as well

       as intentional violations of federal law."               Smith, 461 U.S. at 51.

       The ALJ specifically found that Pan Am had willfully retaliated

       against    Raye    for   filing    an    OSHA    complaint       and   that   it   had

       "consciously disregarded Raye's statutorily-protected rights under

       the FRSA, and in fact intentionally interfered with the exercise

       of those rights."        Those were reasonable inferences, in light of

       the facts developed at the ALJ hearing.

            3.      A Statutory-Maximum Award of Punitive Damages Was Not
                    Clearly Excessive

                    The evidence on which the punitive damages award rests

       does not pertain solely to how Pan Am treated Raye.                        The ALJ's

       opinion    cites     several   additional        reasons,    all       supported    by

       substantial       evidence.       For   example,     Pan    Am    exaggerated      the

       seriousness of the supposedly "major" discrepancy, both in the

       second Notice of Hearing and in Schultz's testimony before the

       ALJ, and Schultz's dissembling gave reason to be concerned about




                                               - 19 -
Case: 16-2271      Document: 00117145083        Page: 20     Date Filed: 04/20/2017    Entry ID: 6085783




       Pan Am's culture.           Pan Am's choice to charge Raye with dishonesty

       was made not by a low-level manager but by its corporate legal

       department and a Vice President.                Pan Am chose not to make use of

       OSHA's built-in factfinding process to address the discrepancy,

       and instead threatened Raye with the dishonesty charges.                        Finally,

       Pan Am appeared to the ALJ to have a corporate culture more focused

       on retaliation than on safety: the ALJ found that 99% of injuries

       at Pan Am that were reportable to the FRA triggered formal charges

       against the injured employee, in stark contrast to Pan Am's

       apparent      nonchalance        about    its   own   responsibility       to   improve

       safety and remove hazards like the one Raye reported.

                         The difficult question is not whether there should have

       been a punitive damages award at all, but whether Pan Am has shown

       that a $250,000 award, set at the statutory maximum, was an abuse

       of discretion.            See Cooper Indus., Inc. v. Leatherman Tool Grp.,

       Inc.,       532    U.S.   424,   432–33    (2001)     (federal     appellate     courts

       generally review the size of a punitive damages award for abuse of

       discretion, assuming that "no constitutional issue is raised" and

       that the award was within statutory limits).9                      Our deference to




               9 Pan Am has not challenged the size of the punitive
       damages award on constitutional grounds. Cf. State Farm Mut. Auto
       Ins. Co. v. Campbell, 538 U.S. 408, 416–17 (2003) (discussing the
       "procedural and substantive constitutional limitations" applicable
       to punitive damages awards); Méndez-Matos v. Municipality of
       Guaynabo, 557 F.3d 36, 47, 52–56 (1st Cir. 2009) (reducing a jury's
       punitive damages award to comport with due process).


                                                 - 20 -
Case: 16-2271   Document: 00117145083   Page: 21   Date Filed: 04/20/2017   Entry ID: 6085783




       the ALJ's choice, to be sure, "is not boundless."             United States

       ex rel. D'Agostino v. EV3, Inc., 802 F.3d 188, 192 (1st Cir. 2015).

       Still, in this instance, we will not disturb the $250,000 award.

                  The Supreme Court has recently reminded us about the

       reasons for an abuse of discretion standard: "basic principles of

       institutional capacity counsel in favor of deferential review"

       when a factfinder's decision "turns not on 'a neat set of legal

       rules' but instead on the application of broad standards" to the

       specific and nuanced facts of a particular case.              McLane Co. v.

       EEOC, No. 15-1248, 2017 WL 1199454, at *7 (U.S. Apr. 3, 2017)

       (quoting Illinois v. Gates, 462 U.S. 213, 232 (1983)).               In cases

       like this one, a Department of Labor ALJ's subject matter expertise

       and experience with whistleblower cases make him or her well suited

       to make the "discretionary moral judgment[s]," Smith, 461 U.S. at

       52, and the "fact-intensive, close calls," McLane, 2017 WL 1199454,

       at *7 (quoting Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 404

       (1990)), that must inform any punitive damages determination --

       whether under the FRSA or another statute.            Abuse of discretion

       review is not "no review at all," Wilton v. Seven Falls Co., 515

       U.S. 277, 289 (1995), but when applying that standard we will

       refrain from "reweighing evidence and reconsidering facts already

       weighed and considered by the [ALJ]," McLane, 2017 WL 1199454, at

       *7 (quoting Cooter & Gell, 496 U.S. at 404).




                                         - 21 -
Case: 16-2271   Document: 00117145083     Page: 22    Date Filed: 04/20/2017    Entry ID: 6085783




                   The ALJ was entitled, within wide limits, to decide how

       much weight to afford to each of the relevant facts, to assess the

       credibility of the witnesses at the ALJ hearing, and to make the

       fact-sensitive and "discretionary moral judgment[s]" that Smith

       requires.       461 U.S. at 52.      The question of excessiveness is a

       close    one,   but   like   the   ARB   we   ultimately    see   no    abuse   of

       discretion in the ALJ's conclusion that a maximum award was

       warranted here to accomplish the FRSA's goal of punishing and

       deterring retaliatory conduct by employers like Pan Am.

                                            III.

                   We deny Pan Am's petition for review.           Costs are awarded

       against Pan Am.




                                           - 22 -
